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                        IN T H E UNITED STATES D I S T R I C T C O U R T
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  F O R T W O R T H DIVISION

J A C K E L I N E GONZALEZ,

          Plaintiff,

V.
                                                                 No.
STATE FARM LLOYDS
                                                                  J U R Y DEMAND
          Defendant.

               DEFENDANT S T A T E F A R M L L O Y D S ' N O T I C E OF R E M O V A L

TO THE HONORABLE COURT:

          Pursuant to 28 U.S.C. §§ 1441 and 1446, State Farm Lloyds ("State Farm" or

"Defendant") files this Notice of Removal to the United States District Court for the Northern

District of Texas, Fort Worth Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                     I.

                          F A C T U A L AND P R O C E D U R A L BACKGROUND

          1.     On January 27, 2015, Plaintiff Jackeline Gonzalez filed her Original Petition in

the matter styled Jackeline Gonzalez v. State Farm Lloyds, Cause No. 352-276592-15, in the

352nd Judicial District Court in and for Tarrant County, Texas. The lawsuit arises out of a claim

Plaintiff made for damages to her home under a homeowner's insurance policy with State Farm

Lloyds.

          2.     Plaintiff served State Farm with a copy of the Original Petition on or about March

4, 2015.




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       3.      State Farm files this notice of removal within 30 days of receiving Plaintiffs

pleading. See 28 U.S.C. §1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action.

       4.      A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).        A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff.

       5.      As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit " A " is an

Index of State Court Documents, a copy of the Docket Sheet is attached as Exhibit "B," a copy

of Plaintiffs Original Petition and Stipulation is attached as Exhibit "C," confirmation of the

citation issued on State Farm Lloyds along with the Service Attempt #1 is attached as Exhibit

"D," and a copy of State Farm Lloyds' Original Answers is attached as Exhibit "E."

       6.      Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Tarrant County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                II.

                                     BASIS F O R R E M O V A L

       7.      Removal is proper based on diversity of citizenship under 28 U.S.C. §§1332(a),

1441(a) and 1446.

A.     The Parties Are Of Diverse Citizenship

       8.      Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas. See Pi's Original Pet. f 3.

       9.      Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under
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Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are, citizens and residents of the

states of Illinois, Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm      Lloyd's,

1998 W L 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

       10.     Because Plaintiff is a citizen of Texas and Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, complete diversity of citizenship exists among the parties.

B.     The Amount in Controversy Exceeds $75,000.00

       11.     This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiff alleges that Defendant is liable under a residential insurance policy because Plaintiff

made a claim under that policy and Defendant wrongfully adjusted and denied Plaintiffs claim.

Specifically, but without limitation, Plaintiff alleges that Defendant breached the insurance

policy number 58-NT-6826-9, with a Dwelling Limit of $154,675.00, Dwelling Extension Limit

of $15,467.00, a Contents Limit of $116,006.00, and an Additional Living Expense Limit of

actual loss sustained for the property located at 226 E. Embercrest Dr., Arlington, TX 76018-

1414 (the property giving rise to the present dispute). See Exhibit "F," Hamil Declaration,

attached hereto and fully incorporated herein by reference.

       12.     In addition, Plaintiffs Original Petition alleges that Defendant is liable under

various statutory and common law causes of action for actual damages, consequential damages,



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statutory penalties, treble damages, exemplary damages, court costs, and attorney's fees. As

such, Plaintiffs alleged damages greatly exceed $75,000.00.

                                    Conclusion and Prayer

        13.      A l l requirements are met for removal under 28 U.S.C. §§ 1332 and 1441.

Accordingly, Defendant State Farm Lloyds hereby removes this case to this Court for trial and

determination.


                                             Respectfully submitted,

                                             /s/ Rhonda J. Thompson           _ _
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                                             Adrienne B. Hamil
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                                             C O U N S E L F O R DEFENDANT
                                             STATE FARM LLOYDS




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2015, a true and correct copy of the foregoing has been
forwarded to counsel of record in accordance with Rule 5(b)(2) Federal Rules of Civil
Procedure:

       Via Facsimile and Certified Mail, R R R ;
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                                             Adrienne B. Hamil




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